Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 1 of 17




 EXHIBIT I
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 2 of 17




                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                          Plaintiff,

                                                             No. 20 Civ. 7311 (LAK) (JLC)
         v.

 DONALD J. TRUMP, in his personal capacity,

                          Defendant.



               PLAINTIFF’S RESPONSES AND OBJECTIONS TO
         DEFENDANT’S FIRST SET OF INTERROGATORIES TO PLAINTIFF

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules

of the Southern District of New York (together, the “Rules”), Plaintiff E. Jean Carroll (“Carroll”),

by and through her undersigned attorneys, hereby submits her Responses and Objections (the

“Responses”) to the First Set of Interrogatories of Defendant Donald J. Trump (“Trump”) dated

May 27, 2022 (the “Interrogatories”).

                                       GENERAL OBJECTIONS

        The following general objections and responses (the “General Objections”) are

incorporated into each specific objection and response (the “Specific Objections”) as if fully set

forth therein:

        1.       Carroll objects to the Interrogatories to the extent they are duplicative or cumulative

or seek information that has been or will be provided through other means of discovery.

        2.       Carroll objects to the Interrogatories to the extent they are vague, ambiguous,

overly broad, unduly burdensome, seek information not relevant to the claims or defenses of any

party, or are not proportional to the needs of the case.
        Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 3 of 17




        3.     Carroll objects to Definition No. 5 on the ground that it purports to include Bergdorf

Goodman’s “current or former subsidiaries, affiliates, parents, predecessors and successors,

divisions, departments and operating units, and includes, without limitation, each of their current

or former officers, directors, members, partners, shareholders, employees, agents, officials,

Representatives, and all Persons and entities acting or purporting to act on their behalf.” Subject

to this General Objection, in responding to the Interrogatories, Carroll will construe “Bergdorf” to

refer only to “Bergdorf Goodman” and no other entity.

        4.     Carroll objects to Definition No. 8 on the grounds that it is broader than the uniform

definition of “communication” in Local Rule 26.3(c)(1). Subject to this General Objection, in

responding to the Interrogatories, Carroll will use the definition of “communication” set forth in

that Rule.

        5.     Carroll objects to Definition No. 10 on the grounds that it is broader than the

uniform definition of “concerning” in Local Rule 26.3(c)(7). Subject to this General Objection, in

responding to the Interrogatories, Carroll will use the definition of “concerning” set forth in that

Rule.

        6.     Carroll objects to Definition No. 12 on the grounds that it is broader than the

uniform definition of “document” in Local Rule 26.3(c)(2) and Federal Rule of Civil Procedure

34(a)(1)(A). Subject to this General Objection, in responding to the Interrogatories, Carroll will

use the definition of “document” set forth in that Rule.

        7.     Carroll objects to Definition No. 14 on the ground that it purports to include Elle’s

“current or former subsidiaries, affiliates, parents, predecessors and successors, divisions,

distributors, publishers, departments and operating units, and includes, without limitation, each of

their current or former officers, directors, members, partners, shareholders, employees, agents,




                                                 2
        Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 4 of 17




officials, Representatives, and all persons and entities acting or purporting to act on their behalf,

but not limited to Hearst.” Subject to this General Objection, in responding to the Interrogatories,

Carroll will construe “Elle” to refer only to “Elle Magazine” and no other entity. Carroll objects

to Definition No. 21 on the ground that it defines “Carroll,” “Plaintiff,” “You,” and “Your” as “E.

Jean Carroll and her Representatives and former Representatives, including but not limited to,

Kaplan Hecker & Fink, and Kaplan.” Because this is solely a dispute between two parties, Carroll

will construe “Plaintiff,” “You,” and “Your” to refer only to “E. Jean Carroll.”

        8.     Carroll objects to the Definitions and Instructions in the Interrogatories insofar as

they purport to require unreasonable measures to identify responsive information or documents.

In responding to the Interrogatories, Carroll will undertake a reasonable and diligent search of her

accessible files, as required by the Federal Rules of Civil Procedure.

        9.     Carroll objects to Instruction No. 2 insofar as it seeks to impose obligations greater

than those imposed by Local Rule 26.2. For all claims of privilege, Carroll will identify only the

information that it is required to be identified under Local Rule 26.2.

        10.    Carroll objects to Instruction No. 5 insofar as it seeks to impose obligations greater

than those imposed by Federal Rule of Civil Procedure 33(b)(4). For all objections, Carroll will

state only the information that it is required to be stated under Federal Rule of Civil Procedure

33(b)(4).

        11.    Carroll objects to Instruction No. 5 on the grounds that it is broader than the uniform

definitions of “identify” in Local Rule 26.3(c)(3)–(4). Subject to this General Objection, in

responding to the Interrogatories, Carroll will use the definitions of “identify” set forth in that

Rule.




                                                 3
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 5 of 17




        12.     Carroll objects to Instruction No. 6 and Instruction No. 7 on the grounds that they

are broader than the uniform definitions of “and,” “or,” “and/or,” “all,” “any,” and “each” in Local

Rule 26.3(d)(1)–(2). Subject to this General Objection, in responding to the Interrogatories, Carroll

will use the definitions set forth in that Rule.

        13.     Carroll objects to Instruction No. 10 to the extent it encompasses information that

is overbroad, unduly burdensome, disproportionate to the needs of the case, and irrelevant.

        14.     Carroll objects to the Interrogatories to the extent that they purport to call for

information or documents that: (a) are subject to attorney-client privilege; (b) constitute attorney

work product; (c) contain information protected from disclosure based on common interest or a

similar privilege; or (d) are otherwise protected from disclosure under any applicable privilege,

law, or rule. Carroll will not produce such information in response to the Interrogatories, and any

inadvertent identification thereof shall not be deemed waiver of any privilege with respect to such

information.

        15.     These Responses to the Interrogatories are made to the best of Carroll’s present

knowledge, information, and belief. These Responses are subject to change based on additional

facts that may come to light as a result of discovery or investigation.

        16.     Carroll reserves all objections or questions as to the competency, relevance,

materiality, privilege, or admissibility of Carroll’s Responses herein, which are presented as

evidence in any subsequent proceeding in, or trial of, this or any other action, for any purpose

whatsoever. Carroll’s Interrogatories herein are not intended to be and shall not be construed as an

agreement or concurrence with Trump’s characterization of any facts, circumstances, or legal

obligations, and Carroll reserves the right to contest any such characterizations as inaccurate.




                                                   4
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 6 of 17




        17.     The following Responses are all designated as confidential on the understanding

that the parties will agree on the terms of a protective order in this litigation.

        18.     Carroll is available to meet and confer with Trump in an effort to resolve any

disputes that may arise concerning these Interrogatories.

         RESPONSES AND OBJECTIONS TO SPECIFIC INTERROGATORIES

                1.      Identify all Persons who have any knowledge or information about any of
        the allegations in the Complaint, and for each Person identified, describe the subject matter
        of the knowledge that each Person possesses.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and the improper requirement

that Carroll identify every single individual who may have heard the Statements (which were

highly publicized). Notwithstanding and without waiver of her General and Specific Objections,

Carroll identifies the following Persons with whom she communicated—prior to publication of

the Article—about the fact that Trump had sexually assaulted her:

 Individuals who Carroll informed about the Assault near-contemporaneously

 Lisa Birnbach, Friend of Carroll            Contemporaneous outreach
 Carol Martin, Friend of Carroll             Contemporaneous outreach
 Individuals who Carroll informed about the Assault prior to publication of the Article

 Laurie Abraham, Editor at Elle Magazine;          Read first draft of the Book and edited the Article
 Editor at New York Magazine; Editor at The
 Atlantic Magazine
 Matie Argiropoulous, Producer                     Produced audio of the Book
 Lisa Chase, Editor at Elle Magazine and           Aware of Book publication
 Outside Magazine
 Elisabeth Dyssegaard, Editor at St. Martin’s      Edited the Book
 Press
 Nina Garcia, Editor-in-Chief at Elle              Oversaw Carroll’s column at Elle Magazine until
 Magazine                                          her termination in 2019
 David Haskell, Editor-in-Chief at New York        Publisher of the Article
 Magazine
 Sarah Lazin, Agent to Carroll since 1992          Assisted in selling Book to St. Martin’s Press
 Jody Quon, Photographer                           Photographed the cover of the Article


                                                   5
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 7 of 17




 Genevieve Smith, Editor at New York Edited the Article
 Magazine
 Dori Weintraub, Head of Publicity at St. Coordinated publishing the Book
 Martin’s Press


              2.     Identify each Person or entity with whom You or Your Representatives
       communicated in any way (including, but not limited to, in-person, by telephone, by e-
       mail, by facsimile, or in writing) about the Action or any of the allegations in the
       Complaint.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

insofar as it seeks information protected by attorney-client privilege, attorney work-product

doctrine, and other applicable privileges. Carroll also objects to this Interrogatory on the grounds

of overbreadth, undue burden, and disproportionality. Notwithstanding and without waiver of her

General or Specific Objections, Carroll refers to her Response to Interrogatory No. 1.

              3.     For each Statement, identify all Persons, other than You or Your
       Representatives, who have viewed, read, heard, or in any way became aware of that
       Statement.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, and disproportionality. Carroll further objects to this

Interrogatory on the ground that it is obviously impossible for her to identify all persons who

“viewed, read, heard, or in any way became aware of” the Statements, which were covered widely

in the national press and discussed on social media. Notwithstanding and without waiver of her

General or Specific Objections, Carroll refers to her Response to Interrogatory No. 1.

              4.      Identify each Person with whom You discussed the purported incident
       described in Paragraphs 22 through 42 of the Complaint.

       RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

states that she told Carol Martin and Lisa Birnbach that Trump assaulted her soon after it occurred.




                                                 6
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 8 of 17




               5.      Identify and describe the exact damages that You are seeking in the
       Complaint and the facts upon which such damages are based, and identify all documents
       that describe, reflect, support, or relate to the damages sought.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

insofar as it seeks information protected by attorney-client privilege, attorney work-product

doctrine, and other applicable privileges. Carroll further objects to this Interrogatory on the ground

that it is premature since not a single document has been produced. Notwithstanding and without

waiver of her General and Specific Objections, Carroll refers to Page 27 of the Complaint.

              6.     Identify all of Your business or social relationships that were affected by
       the Statements, and identify how each such relationship was harmed, as referenced in
       Paragraph 129 of the Complaint.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

insofar as it seeks information protected by attorney-client privilege, attorney work-product

doctrine, and other applicable privileges. Carroll further objects to this Interrogatory on the ground

that it is premature since not a single document has been produced. Moreover, Carroll objects to

this Interrogatory on vagueness and irrelevance grounds. Notwithstanding and without waiver of

her General and Specific Objections, Carroll states that the letters she received for her “Ask E.

Jean” column decreased by roughly 50% in the months of July, August, and September 2019 as

compared to the number of letters received for the same period in 2018; and that her contract with

Elle was not renewed in December 2019.

              7.     Identify all medical providers, including mental health professionals, that
       have treated you from 1990 to the present, and explain the nature and purpose of such
       treatment

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation. Notwithstanding and without waiver of her




                                                  7
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 9 of 17




General and Specific Objections, Carroll states that she did not seek professional treatment for any

physical and/or mental injuries or conditions she suffered due to the Assault or the Statements.

               8.     Identify all medication You have been prescribed since 1990 to the present,
       including the dates on which You were taking such medications, and the reason You were
       prescribed such medication.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation. Notwithstanding and without waiver of her

General and Specific Objections, Carroll states that she has not been prescribed medication as

treatment for harms she has suffered in consequence of the Assault or the Statements.

               9.     Describe in detail your record of employment, stating specifically as to each
       job the name and address of your employer, your duties, title, job description and authority,
       and the inclusive dates of beginning and ending each employment.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, and disproportionality. Notwithstanding and without

waiver of her General and Specific Objections, Carroll identifies the following jobs and employers:

 Job                              Employer                              Dates of Employment
 Columnist                        “Ask E. Jean” Column                  1993-2019
                                  Lisa Chase and/or Robbie Myers
                                  Elle Magazine
                                  300 W 57th St.
                                  New York, NY 10019
 TV Host                          Ask E. Jean on America’s Talking      1994-1996
                                  Roger Ailes
                                  30 Rockefeller Plaza
                                  New York, NY 10112
 Author                           A Dog in Heat Is a Hot Dog and        1995-1996
                                  Other Rules to Live By
                                  Simon and Schuster
                                  1230 6th Ave.
                                  New York, NY 10020
 Host and Writer                  TV pilots for the Carsey-Warner       1995-1999
                                  Company, PBS, and Tribune
                                  Studios


                                                 8
      Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 10 of 17




 Co-Founder                     GreatBoyfriends.com                 2000
 Author                         Mr. Right, Right Now!        2004
                                HarperCollins Publishers LLC
                                195 Broadway
                                New York, NY 10007
 Author                         What Do We Need Men For?: A 2019
                                Modest Proposal
                                St. Martin’s Press
                                120 Broadway
                                New York, NY 10271
 Columnist                      Laurie Abraham               2020
                                The Atlantic Magazine
                                600 New Hampshire Ave., N.W.
                                Washington, D.C. 20037


               10.    Describe in detail each communication You had concerning Defendant, any
       interaction or communication with Defendant, or the allegations in the Complaint,
       including identifying the Person with whom You had the communication.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, irrelevance, and disproportionality. It would be

absurd and impossible—not to mention needless and burdensome—for Carroll to detail every

conversation she has had concerning Trump, who served as President from 2016-2020. In the

Complaint itself, Carroll describes her interactions and communications with Trump. Moreover,

as set forth in her Response to Trump’s Requests for Production, Carroll will produce certain

documents that address her communications with third parties concerning this Action or the

allegations in the Complaint.

              11.    Identify each Person with knowledge of Your decision to write or publish
       the Book or the Article, and Your thought process behind such decision, as alleged in
       paragraphs 74 through 76 of the Complaint.

       RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

identifies the following individuals, who are described in more detail in Response No.1: Laurie




                                              9
      Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 11 of 17




Abraham, Lisa Birnbach, Elisabeth Dyssegaard, David Haskell, Sarah Lazin, Carol Martin,

Genevieve Smith, and Dori Weintraub.

              12.      Identify each romantic partner You have had since the date of the purported
       incident.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of blatant sexism, overbreadth, undue burden, disproportionality, and irrelevance

to the truth or falsity of the claims or defenses in this litigation. Notwithstanding and without

waiver of her General and Specific Objections, Carroll states that she has had zero romantic

partners since Trump sexually assaulted her in the mid-1990s.

       13.    Identify each Person with knowledge of Your decision to speak with reporter,
Barbaro, along with Martin and Birnbach, referenced in Paragraphs 101-104 in the Complaint.

       RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

states that she did not speak to Barbaro with respect to the events described in Paragraphs 101-104

in the Complaint.

               14.     Describe in detail how each of the Statements tended to or did injure Your
       trade, occupation or business, reputation, or finances, as alleged in paragraphs 82 through
       100 of the Complaint, identify each Person with knowledge of such alleged injury, and for
       each financial loss, identify:

               a.   the amount of each loss;
               b.   the date of each loss;
               c.   whether the loss was a realized loss or an unrealized loss;
               d.   whether you claimed and/or received a tax deduction for such loss;
               e.   each account and account number that reflects each loss; and
               f.   whether the loss has be recouped or mitigated in any way.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, and disproportionality. Carroll further objects to this

Interrogatory on the grounds that it is premature since not a single document has been produced.

Notwithstanding and without waiver of her General and Specific Objections, Carroll states that,

during her tenure as a Columnist at Elle Magazine, she was paid $5 a word, whereas at The


                                                10
      Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 12 of 17




Atlantic, where she worked as a Contributing Writer since August 2020, she was paid $.023 a

word. As set forth in her Response to Trump’s Requests for Production, Carroll will produce

certain documents concerning the economic injuries that the Statements caused her to suffer.

              15.    Describe in detail Your alleged emotional harm, as alleged in paragraph 145
       of the Complaint, including but not limited to any treatment You received in connection
       with Your alleged emotional harm and identify each person with knowledge of such
       treatment.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, and disproportionality. Carroll further objects to this

Interrogatory on the grounds that it is premature since not a single document has been produced.

Notwithstanding and without waiver of her General and Specific Objections, Carroll states that

she suffered severe emotional distress following the Statements but did not seek professional

treatment. As set forth in her Response to Trump’s Requests for Production, Carroll will produce

certain documents concerning the emotional injuries that the Statements caused her to suffer.

              16.      For all of Your attorneys’ fees and other professional fees You allegedly
       incurred as a result of the Statements, provide the name of the attorney or other
       professional, the work performed, and the date and amount of the invoice.

       RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation. Carroll further objects to this Interrogatory on

the ground that it seeks information protected by the attorney-client privilege, the attorney work-

product doctrine, and other applicable privileges. Carroll further objects to this Interrogatory on

the ground that it seeks information that could threaten Carroll’s security if made public.

              17.     Identify each individual member of the group of, “Sixteen Women,”
       referenced in Paragraph 78 of the Complaint, and describe, with respect to each individual
       member of the group:

               a. Your relationship; and
               b. any communications You had with such women.


                                                 11
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 13 of 17




        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation. Notwithstanding and without waiver of her

General and Specific Objections, Carroll states that the following sixteen women have publicly

revealed that (like Carroll herself) they were attacked by Trump: Kristin Anderson, Rachel Crooks

Tasha Dixon, Jessica Drake, Jill Harth, Cathy Heller, Ninni Laaksonen, Jessica Leeds, Temple

Taggard McDowell, Mindy McGillivray, Jennifer Murphy, Cassandra Searles, Natasha Stoynoff,

Bridget Sullivan, Karena Virginia, and Summer Zervos.

                 18.    Identify all Persons who have ever characterized Your statements,
        assertions, accusations, or allegations of being biased, bogus, concocted, counterfeit,
        deceptive, dishonest, erroneous, exaggerated, fabricated, fake, fallacious, false, feigned,
        fictitious, flawed, forged, fraudulent, hyperbolic, impartial, imprecise, inaccurate,
        inconsistent, incorrect, inexact, invented, misleading, perfidious, phony, specious,
        spurious, unfounded, unreliable, untrue, or wrong.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation. Carroll further objects to this Interrogatory on

the ground that it depends on disputable, subjective, and vague characterizations. Notwithstanding

and without wavier of her General and Specific Objections, Carroll notes that Trump himself has

characterized Carroll using terms of the kind set forth in the Interrogatory.

                19.     Describe in detail each instance of any arrest by law enforcement
        authorities, including the specific violation or offense for which You were arrested, the
        disposition of the arrest, the date and place of the arrest, and the date, court, and place of
        any conviction.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

as overbroad, unduly burdensome, and irrelevant to the truth or falsity of the claims or defenses in

this litigation.




                                                 12
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 14 of 17




               20.      Describe in detail any instance in which You accused another Person of
        sexual assault or inappropriate sexual conduct, including but not limiting to by identifying
        each such Person.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or

falsity of the claims or defenses in this litigation.

               21.    Identify all amounts of compensation, remuneration, or funds, received in
        connection with the Book or the Article

        RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

states that she received an advance of $70,000 in connection with the Book, and that the money

she received for the Article ($7,500 total at a rate of $1 per word) was used to pay off part of that

advance. Carroll further states that the Book has yet to make back the advance.

               22.    Identify any publishers or distributors with which You had any discussions
        concerning publishing or distributing the Book.

        RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

identifies the following publishers and distributors with which she had discussions about

publishing or distributing the Book: Laurie Abraham, Lisa Davis, Elisabeth Dyssegaard, Sarah

Lazin, Danielle Prielipp, and Dori Weintraub.

                23.    Identify all Persons who have made, provided, discussed, or offered to make
        or provide, any funds, payments, donations, gifts or consideration of any value, in
        connection with this Action or in connection with any media or public appearances, press
        interviews, or consultations with any legal counsel or any other person concerning the
        Defendant, any accusation or allegation concerning Defendant, this Action, the Statements,
        Defendant’s presidency or campaign, including but not limited to for security expenses,
        relocation, expenses, consulting, or attorneys’ fees, and describe:

                a. the nature of the contribution or provision of value or consideration; and
                b. the dollar amount of the contribution or provision of value or consideration, if
                   not financial in nature, the equivalent dollar amount of the contribution.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds of overbreadth, undue burden, disproportionality, and irrelevance to the truth or


                                                   13
       Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 15 of 17




falsity of the claims or defenses in this litigation. Carroll further objects to this Interrogatory insofar

as it calls for information that is protected by the attorney-client privilege, attorney work-product

doctrine, and other applicable privileges.

                24.     Identify all other litigations, arbitrations, or other formal disputes involving
        You.

        RESPONSE: Notwithstanding and without waiver of her General Objections, Carroll

states that she has never previously been involved in a lawsuit, arbitration, or other formal dispute.

               25.    Describe in detail Your reputation before the alleged defamation compared
        to Your reputation afterward, indicating all facts, contentions and opinions that reflect in
        any way upon Your reputation before and after the alleged defamation.

        RESPONSE: In addition to her General Objections, Carroll objects to this Interrogatory

on the grounds that it is overly broad, unduly burdensome, and seeks information not relevant to

the claims or defenses of any party in this Action. Notwithstanding and without waiver of her

General and Specific Objections, Carroll states that, after Trump’s Statements, she began to

receive hate mail in response to his Statements and the allegations in this case, copies of which she

will produce to Trump in discovery. Carroll further states that she had never before received hate

mail in her life. She would, at times, get letters from people disagreeing with her advice, but never

hate mail as vicious and targeted as she started to receive after Trump denied sexually assaulting

her and called her a liar.




                                                    14
    Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 16 of 17




Dated: New York, New York
       June 27, 2022                     By:
                                               Roberta A. Kaplan
                                               KAPLAN HECKER & FINK LLP
                                               350 Fifth Avenue, 63rd Floor
                                               New York, New York 10118
                                               Tel: (212) 763-0883
                                               Fax: (212) 564-0883
                                               rkaplan@kaplanhecker.com

                                               Joshua Matz
                                               KAPLAN HECKER & FINK LLP
                                               1050 K STREET NW, Suite 1040
                                               Washington, DC 20001
                                               Telephone: (212) 763-0883
                                               Fax: (212) 564-0883
                                               jmatz@kaplanhecker.com

                                               Counsel for Plaintiff E. Jean Carroll




                                    15
      Case 1:22-cv-10016-LAK Document 109-9 Filed 04/13/23 Page 17 of 17




                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,
                        Plaintiff,

                                                           No. 20 Civ. 7311 (LAK) (JLC)
         v.

 DONALD J. TRUMP, in his personal capacity,

                        Defendant.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day, June 27, 2022, I served a true and correct copy of Plaintiff
E. Jean Carroll’s Responses and Objections to Defendant’s First Set of Interrogatories by e-mail
upon counsel for Defendant Donald J. Trump and by overnight delivery service to:

                                         Alina Habba
                               HABBA MADAIO & ASSOCIATES LLP
                               1430 U.S. Highway 206, Suite 240
                                 Bedminster, New Jersey 07921

                           Attorney for the Defendant Donald J. Trump


Dated: June 27, 2022
New York, New York



                                               By:
                                                      Joshua Matz




                                                 16
